
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Mary land and Respondent, Jayme Lynn Levy, to disbar the Respondent from the practice of law for violations of Rules 1.1, 1.2, 1.3, 1.4, 8.1(a) and 8.4(a)-(d) of the Maryland Lawyers' Rules of Professional Conduct. The Court having considered the Petition, and the record herein, it is this 26th day of April, 2018;
ORDERED, that the Respondent, Jayme Lynn Levy, be disbarred from the practice of law in the State of Maryland, effective sixty (60) days from the date of this Order; and it is further
ORDERED, that, sixty (60) days from the date of this Order, the Clerk of this Court shall strike the name of Jayme Lynn Levy from the register of attorneys in the Court and certify that fact to the trustees of the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 19-762(b).
